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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA ,
                             STATESBORO DIVISIO N
                                                                              CLERK K
LYNETTE TANKERSLEY EDEN ,                                                        50. C I

       Plaintiff,

vs .                                            Case No . CV605-043

CITIFINANCIAL AUTO, LTD .,

       Defendant.

           DEFENDANT CITIFINANCIAL AUTO, LTD.'S
                    MEMORANDUM OF LAW
  IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT AND IN
 OPPOSITION TO PLAINTFF'S MOTION FOR SUMMARY JUDGMEN T

       Defendant CitiFinancial Auto, Ltd . files this memorandum of law in support

of its motion for summary judgment and in opposition to Plaintiff's motion for

partial summary judgment . CitiFinancial is entitled to judgment as a matter of law

with respect to each of the claims asserted in Plaintiff's Complaint . In addition,

CitiFinancial is entitled to a judgment as a matter of law on its counterclaim

against Plaintiff.

                             STATEMENT OF FACT S

       Plaintiff Lynette Tankersley Eden and her son, Ramsey Eden, co-signed a

loan to purchase a Toyota Corolla on March 7, 2002 . [Transcript of the deposition

of Lynette T . Eden ("L . Eden Dep."), p . 35, 37-38 and Ex . 1 ; transcript of the

deposition of Ramsey Eden ("R . Eden Dep ."), pp. 27-29 and Ex . 1 ; Affidavit of
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Thomas Jacobs ("Jacobs Aff."), 13 and Ex . A; Complaint, 18] CitiFinancial, at

that time known as "Arcadia Financial, Ltd .," purchased the loan and security

interest. [Jacobs Aff., 3 and Ex. B ; Complaint, 19]

         The Retail Installment Contract and Security Agreement signed by both

Plaintiff and Ramsey Eden, specifically provides tha t

         D. [CitiFinancial] may immediately take possession of the
         Property by legal process or self-help, but in doing so we may not
         breach the peace or unlawfully enter onto your premises . We may
         then sell the Property and apply what we receive as provided by law
         to our reasonable expenses and then toward your obligations .

         E. Except when prohibited by law, we may sue you for additional
         amounts if the proceeds of a sale do not pay all of the amounts you
         owe us .

[Jacobs Aff., Ex. B at Remedies ¶9[ D, E] Both Plaintiff and Ramsey Eden

understood that CitiFinancial had the right to repossess the car and sue for the

deficiency balance if payments were not timely made on the loan . [R . Eden, Dep .,

p . 37 and Ex . 3 ; L. Eden Dep ., p. 61]

         Plaintiff and her son subsequently defaulted on the loan . [R. Eden Dep ., pp.

37-39 ; Jacobs Aff ., 15] On July 15, 2003, CitiFinancial sent letters to Plaintiff

and her son notifying them that the account was in default and that CitiFinancial

was going to exercise its rights, including the right to repossess the car . [Jacobs

Aff., 9[5 and Exs . C and D]

         The default was not cured . [Jacobs Aff., 16] Therefore, on December 3 ,


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2003, the car was repossessed . [R. Eden Dep ., p. 40-41 ; Jacobs Aff.,16] Ramsey

Eden, who had possession of the car, voluntarily surrendered the car to the

repossession company . [R . Eden Dep ., p . 41 ; Jacobs Aff ., 161

         The next day, December 4, 2003, in compliance with O .C .G .A. §§ 11-9-611

and 10-1-36, CitiFinancial sent to Plaintiff and her son letters notifying them that

CitiFinancial had the car (which, of course, Ramsey Eden already knew), that

CitiFinancial planned to sell the car at a private sale, the date of the proposed sale,

that they had a right to request a public sale, that CitiFinancial might seek from

them the deficiency after the sale, and that they had a right to redeem the car prior

to the sale. [Jacobs Aff., 17 and Exs . E and F] The December 4, 2003 letters are

based on the form provided in O .C.G.A. § 11-9-614 .

         Neither Plaintiff nor her son attempted to redeem the automobile . [R. Eden

Dep., 46; Jacobs Aff., y[ 8] Therefore, on March 11, 2004, the car was sold at

auction . [Jacobs Aff., y[ 8] On March 17, 2004, CitiFinancial sent letters to

Plaintiff and her son informing them that the repossessed automobile had been sold

and that the deficiency amount was $6,887 .94. [Jacobs Aff.,18 and Exs . G and H ]

         Plaintiff brought this suit on April 1, 2005 in the Superior Court of Bulloch

County, alleging that CitiFinancial failed to give the proper statutory notices

regarding the repossession and disposition of the automobile, thereby violating

Georgia's Motor Vehicle Sales Finance Act, O .C .G.A. § 10-1-30, et seq. ,



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("MVSFA") and Chapter 9 of the Uniform Commercial Code, O .C.G.A. § 11-9-1

et seq., ("UCC"). In addition, Plaintiff alleges that CitiFinancial violated the Fair

Debt Collection Practices Act, 15 U .S .C . § 1692 et seq., ("FDCPA") and the Fair

Credit Reporting Act, 15 U .S .C. § 1681 et seq., ("FCRA") . CitiFinancial timely

removed this action to this Court on May 20, 2005 . Discovery has concluded .

         On November 23, 2005, Plaintiff filed a motion for summary judgment as to

her claims under the MVSFA and the UCC .

                  ARGUMENT AND CITATION OF AUTHORITY

1.       PLAINTIFF'S CLAIMS FAIL AS A MATTER OF LAW.

         Each of Plaintiff's claims in her Complaint fail as a matter of law, entitling

CitiFinancial to a summary judgment . Because CitiFinancial is entitled to

summary judgment, including with respect to Plaintiff's MVSFA and UCC claims,

Plaintiff's motion for partial summary judgment as to those claims must be denied .

         A.      Plaintiff's MVSFA Claim Fails As A Matter Of Law.

         In her first count, Plaintiff claims that CitiFinancial violated the MVSFA by

failing to notify her that CitiFinancial intended to pursue a deficiency claim

(Complaint, 117), that she had a right to redeem the automobile (id . at 121), and

that she had the right to demand a public sale of the automobile (id, at 124) .

         The MVSFA provides as follows :

         When any motor vehicle has been repossessed after default in
         accordance with Part 6 of Article 9 of Title 11, the seller or holder

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         shall not be entitled to recover a deficiency against the buyer unless
         within ten days after the repossession he or she forwards by registered
         or certified mail or statutory overnight delivery to the address of the
         buyer shown on the contract or later designated by the buyer a notice
         of the seller's or holder's intention to pursue a deficiency claim against
         the buyer . The notice shall also advise the buyer of his or her rights of
         redemption, as well as his or her right to demand a public sale of the
         repossessed motor vehicle . . . .

O .C .G.A. § 10-1-36(a) . CitiFinancial satisfied the requirements of this statute by

sending via certified mail the December 4, 2003 letter to Plaintiff's address at 103

Valley Rd . Apt. 55, Statesboro, Georgia. [Jacobs Aff., 17 and Ex . E] Plaintiff

concedes that she lived at that address on December 4, 2003 . [L. Eden Dep ., p. 73]

That letter -- which is a form letter prescribed by O .C .G.A. 11-9-614 -- duly

instructed Plaintiff that :

    • "[y]ou can get the Collateral back at any time before we sell it by paying us
        the full amount you owe (not just the past due payments), including our
        expenses . To learn the exact amount you must pay, call us at (888) 350-
        9061 . "

    • "[y]ou have the right to request that the collateral be sold at public sale ."

    • "[t]he money that we get from the sale (after paying our costs) will reduce
        the amount you owe . If we get less money than you owe, you may still owe
        us the difference ."

[Jacobs Aff., 17 and Ex . E] Cf. O.C.G.A. 11-9-614 . A duplicate letter was

addressed and sent to Ramsey Eden at his then-current address , 123 Tinker

Boulevard, Warner Robbins , Georgia . [Jacobs Aff., 17 and Ex . F; See R. Eden




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Dep ., p. 52; L. Eden Dep ., p. 72-73] The MVSFA only requires that the letter be

sent or "forwarded," not that it actually be received . O.C .G.A . § 10-1-36(a).

         Plaintiff's claim fails for another reason : the MVSFA does not provide her

an affirmative cause of action for an alleged violation of O .C .G.A. 10-1-36 .

Instead, where a violation is proven, the only "remedy" is that the creditor loses the

right to pursue a deficiency claim . O.C.G.A . 10-1-36 ("the seller or holder shall

not be entitled to recover a deficiency against the buyer unless within ten

days . . . ."). There is no provision in that statute, nor is there any case law decided

under that statute, that affords a debtor a private right of action in these

circumstances .

         The civil penalties provision of the MVSFA, O .C.G.A. § 10-1-38(c), is

inapplicable here . That provision applies to "willful violations of this article with

respect to any transaction . . . ." Being limited to "transactions," it is apparent that

that provision applies only to violations of the MVSFA's fee and interest caps and

contract form requirements imposed on the front end of a loan transaction .

Repossession is not a "transaction ." Moreover, O .C.G.A. § 10-1-38(c) permits the

seller to recover from the buyer an amount equal to the cash price of the goods at

issue . It would be contradictory to allow a seller to recover the cash price against

the buyer under O .C.G.A. § 10-1-38(c), but bar the seller from any recovery

against the buyer under O .C .G.A. § 10-1-36 .



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         Further, O.C .G.A . § 10-1-38 ( c) only permits a recovery where a violation of

the Act is "willful ." Here, there is no evidence of willfulness .

          Q . Do you have any evidence that Arcadia or CitiFinancial ever
                 had the willful intent to do you any harm ?

          A. No.

          Q•      Do you have any evidence that anyone at CitiFinancial or
                  Arcadia ever meant any malice towards you?

          A. No.

[L. Eden Dep ., pp . 90-91 ; Jacobs Aff.,19]

          Plaintiff's MVSFA claim fails for the additional reason that it is time-barred .

The car was repossessed on December 3, 2003 and sold at auction on March 11,

2004. Plaintiff did not file this action until April 1, 2005 . While the MVSFA does

not expressly provide a statute of limitations, the Eleventh Circuit has suggested

that the one-year statute of limitations contained in Georgia's usury penalty statute,

O.C .G .A . § 7-4-10(d), seemingly applies to causes of action under the MVSFA.

Doyle v . Southern Guar . Corp . , 795 F .2d 907, 914 (11' Cir. 1986).

          For these reasons, CitiFinancial's motion for summary judgment should be

granted with respect to Plaintiffs MVSFA claim and Plaintiff's motion for partial

summary judgment as to that claim should be denied .




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         B.      Plaintiff's UCC Claim Fails As A Matter Of Law .

         In her second count, Plaintiff alleges that CitiFinancial violated Georgia's

Uniform Commercial Code by failing to notify her : that CitiFinancial intended to

sell the automobile (Complaint, 130), of the method by which CitiFinancial

intended to sell the automobile (id . at 133), that Plaintiff was entitled to an

accounting of the unpaid debt (id . at 136), of the time after which the disposition

was to be made (id . at 139), of her potential liability for a deficiency (id . at 142),

of a telephone number where she could learn the amount to redeem the automobile

(id. at 145), and of a telephone number or mailing address where she could obtain

additional information concerning the disposition and the obligation secured (id . at

149) .

         In point of fact, CitiFinancial satisfied the requirements of the UCC

(O.C .G .A. §§ 11-9-611 and 614) by sending via certified mail the December 4,

2003 letter to Plaintiff's address at 103 Valley Rd . Apt. 55, Statesboro, Georgia.

[Jacobs All., 17 and Ex. E] That letter is based upon the very form provided in the

statute. See O.C.G.A . § 11-9-614 . A simple comparison of the December 4 letters

to this form reveals that CitiFinancial used this statutory form . And, again,

Plaintiff concedes that she lived at the address the letter was sent to on that date.

[L. Eden Dep., p . 73]




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         Plaintiff also concedes that at the time of the repossession and subsequent

auction of the car, she had no means to redeem the car . [L. Eden Dep ., pp. 62-63,

66-67, 71-72] Ramsey Eden similarly concedes that he had no means to redeem

the car. [R. Eden Dep ., p . 46] Because neither she nor Ramsey Eden had any

means to redeem the car, Plaintiff suffered no damages as a result of her alleged

ignorance of the auction .

         For these reasons, CitiFinancial's motion for summary judgment should be

granted with respect to Plaintiff's UCC claim and Plaintiffs motion for partial

summary judgment as to that claim should be denied .

         C.      Plaintiff's FDCPA Claim Fails As A Matter Of Law.

         As her third count, Plaintiff alleges that CitiFinancial's collection activity,

including contacting her after being notified that she was represented by counsel,

violated the Fair Debt Collection Practices Act. That claim fails, however, as

CitiFinancial is not subject to the FDCPA in this instance .

         The FDCPA governs the actions of "debt collectors ." Creditors who collect

on their own accounts under their own names are not "debt collectors" for purposes

of the Act . The Act defines a debt collector as :

         [A]ny person who uses any instrumentality of interstate commerce or
         the mails in any business the principal purpose of which is the
         collection of any debts, or who regularly collects or attempts to
         collect, directly or indirectly, debts owed or due or asserted to be
         owed or due another . . . .


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15 U .S .C . § 1692a(6) (emphasis added) . "The plain language of the statute does

not include actions of a creditor taken in an effort to collect its own debts directly

from its debtors ." Sterling Mirror of Maryland, Inc. v. Gordon, 619 A.2d 64, 66

(D .C . App . 1993); accord Murra v . Citibank (South Dakota), N.A ., 2004 U .S .

Dist. LEXIS 20941 (N .D . 111. Oct . 18 2004) ("The FDCPA imposes liability on

`debt collectors,' not creditors . . . . A creditor seeking to collect its own debt is not

liable under the FDCPA .") ; Moth v. Citibank (South Dakota), N.A., 33 F. Supp . 2d

115, 119 (D. Conn. 1998) ("Generally, the FDCPA does not apply to creditors .") .

         The cases are legion in which the courts have dismissed or granted summary

judgment to creditors in just these circumstances . See, e .g., Aubert v. American

General Finance, Inc ., 137 F .3d 976, 978 (7th Cir . 1998) ("Creditors who collect in

their own name and whose principal business is not debt collection, therefore, are

not subject to the Act;" affirming summary judgment in favor of the creditor) ;

Murray, 2004 U .S . Dist. LEXIS 20941 (granting creditor's motion to dismiss

where creditor was collecting debt owed to it); Moth, 33 F . Supp . 2d at 115

(granting creditor's motion to dismiss credit card holder's FDCPA claims) ; Decker

v . Hibernia Nat'l Bank, 1996 WL 696323 (E .D. La. Nov. 26, 1996) (granting

creditor's motion to dismiss FDCPA claim because "a `debt collector' does not

include a creditor collecting debts owed to itself.") ; Blalock v. World Pro Travel,

Inc . , 1996 WL 371800 (E.D. La. July 2, 1996) (granting summary judgment to


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creditor on FDCPA claims where it attempted to collect a debt owed to it, and not

the debt of another) ; Oldroyd v . Associates Consumer Discount, 863 F . Supp . 237,

241-42 (E .D . Pa. 1994) (granting creditor summary judgment on FDCPA claim) ;

Meads v . Citicorp Credit Services, Inc ., 686 F . Supp . 330, 333 (S .D. Ga. 1988)

(dismissing FDCPA claims brought by credit card holders because the defendants

were creditors, not "debt collectors" under the Act) ; In Re Cooper , 253 B .R. 286

(N.D . Fla. Bankr. 2000); Sterling Mirror, 619 A.2d at 64 (remanding with

instructions to grant judgment to creditor as to the counterclaim plaintiff's FDCPA

claim, since creditor was attempting to collect debt owed to it) ; Mendez v . Apple

Bank for Savings, 541 N.Y.S .2d 920 (N.Y. Civ. Ct. 1989) (granting bank summary

judgment on plaintiff's FDCPA claim since the bank "attempted to collect a debt

owed to itself and is therefore not a debt collector as defined by this act .").

          Since it is undisputed that CitiFinancial has attempted to collect the debt

Plaintiff owes to CitiFinancial, CitiFinancial is not a "debt collection" and is not

subject to the FDCPA .

          D.      Plaintiff's FCRA Claim Fails As A Matter Of Law .

          In her fourth and last count, Plaintiff alleges that CitiFinancial violated the

Fair Credit Reporting Act by "report[ing] the contested debt which is the subject of

this complaint to at least one credit reporting agency ." [Complaint, 173 ]

         The FCRA specifies certain duties for furnishers of credit information .


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Those duties are set out at 15 U .S.C . § 1681s-2 (Section 623) . Section 1681s-2(a)

specifies various duties upon furnishers to provide accurate credit information .

There is no private right of action under the FCRA for a violation of this

subsection . See 15 U.S .C . § 1681s-2(c) (which provides that the private actions

provisions of the FCRA, §§ 1681n (willful noncompliance) and 16810 (negligent

noncompliance), do not apply to any violation of 1681s-2(a)) ; Gorman v . Wol off

& Abramson, LLP , 370 F . Supp . 2d 1005 (N .D. Cal. 2005) . Enforcement is

exclusively within the province of the federal and state regulators enumerated i n

§ 1681s . See 15 U.S .C . § 1681s-2(d) ; Danielson v . Experian Information

Solutions, Inc., 2004 U.S . App. LEXIS 14975 (D . Minn. July 30, 2004) (granting

furnisher summary judgment on plaintiff's 1681 s-2 claim for falsely reporting

plaintiff as being in bankruptcy) .

         However, even if there were a private right of action under this statute,

Plaintiff couldn't state a claim because the information reported by CitiFinancial

was accurate, as she conceded in her deposition . [L. Eden Dep ., p. 81 ] Plaintiff

produced in discovery an Equifax credit report dated March 28, 2005 . With

respect to the CitiFinancial (Arcadia) tradeline, the "current status" of her account

was reported as "repossession ." [L . Eden Dep., p. 81 ] When asked at her

deposition what information she considered to be inaccurate in her credit report,

she solely referred to the entry of "repossession ." [L . Eden Dep ., p . 83] But, there


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is no dispute that the automobile was in fact repossessed .

        Q•       And under current status, it says repossession ; is that accurate ?

        A . Yes.

[L. Eden Dep., p . 81] Nor is there any dispute that the repossession was proper

and lawful, given that Plaintiff and her son were undeniably in default . [L. Eden

Dep., p. 60]

         Section 1681 s-2(b) of the FCRA sets out duties on furnishers after they have

been informed by a credit reporting agency (CRA) of a dispute pursuant to § 1681 i

-- usually through the receipt of a CDV (consumer dispute verification) .

Generally, the furnisher is required to conduct an investigation, report the results to

the CRA, and, if necessary, correct the information . Johnson v . MBNA Am. Bank,

NA, 357 F .3d 426, 430-31 (4t' Cir . 2004) . However, the furnisher's duties under

this section are triggered by receipt of notice of a customer dispute from a CRA,

not from the consumer directly . Peasley v . Verizon Wireless (VAW) LLC , 364 F .

Supp. 2d 1198 (S .D. Cal. 2005) (granting defendant-furnisher's motion to dismiss

where furnisher provided notice of dispute by consumer, not by a credit reporting

agency) ; Elmore v. North Fork Bancorp . , 325 F . Supp. 2d 336, 340 (S .D.N.Y.

2004) ("The terms of the statute are quite clear . Even assuming the existence of a

private right of action for violation of Section 1681 s-2(b), that right of action exists

only for violations post-dating the furnisher's receipt of a repo rtfrom the credit


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reporting agency .") (emphasis in the original); Robinson v . American Honda

Finance Corp ., No . 03-2220 B/A (W.D . Tenn . March 31, 2005) (granting

furnisher's motion to dismiss where no evidence that CRA informed furnisher of

dispute) ; Downs v. Clayton Homes, Inc., 88 Fed . Appx. 851 (6`h Cir . 2004).

         Here, Plaintiff never reported to any CRA that she believed information on

her credit report to be inaccurate. [L. Eden Dep ., p. 84] Therefore, CitiFinancial

could never have received notice from a CRA triggering its duty to investigate and

correct any errant information . And, again, by Plaintiff's own admission, the

information reported by CitiFinancial ("repossession") was accurate .

         E . Plaintiff' s Claims For Attorney' s Fees and
               Punitive Damages Fail As A Matter Of Law.

         Because each of Plaintiff's substantive claims fails as a matter of law, so too

do her claims for attorneys' fees (Complaint, fifth cause of action) and for punitive

damages (Complaint, sixth cause of action) .




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II . CITIFINANCIAL IS ENTITLED TO A JUDGMENT
       AS A MATTER OF LAW ON ITS COUNTERCLAIM .

        Plaintiff concedes she signed the loan contract, that the contract obligated

her to make monthly payments, that loan went into default, and that the default was

not cured . [L . Eden Dep ., pp. 37, 40-41, 47-53; Jacobs Aff., 19[3-8] Further, the

uncontested evidence is that the amount of the deficiency after dispossession of the

automobile at public auction is $6,887.94 . [Jacobs Aff ., 110]

         Q. Do you have any reason to doubt that the deficiency balance is
              $6,887 .94?

         A. No.

[L. Eden Dep., p . 75] For the reasons stated in Section I .A., above, CitiFinancial

did not violate the MVSFA . Therefore, pursuant to the terms of the loan contract,

CitiFinancial is entitled to a judgment in its favor against Plaintiff in the amount of

$6,887 .94.

         In addition, CitiFinancial is entitled to recover its costs and fees incurred in

collecting on the loan, pursuant to O .C.G.A. § 13-1-11 . The Retail Installment

Contract and Security Agreement provides :

         If you default, you agree to pay our costs for collecting amounts
         owing, including court costs, reasonable attorneys' fees (if referred for
         collection to an attorney not a salaried employee of ours) and fees for
         repossession, repair, storage and sale of the Property securing this
         Contract .

[Jacobs Aff., 1 4, Ex. B]


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        Obligations to pay attorney's fees upon any note other evidence of
        indebtedness, in addition to the rate of interest specified therein, shall
        be valid and enforceable and collectible as a part of such debt if such
        note or other evidence of indebtedness is collected by or through an
        attorney after maturity . . . .

O .C .G.A. § 13-1-11( a) . Calculation of the amount of the fees is as follows :

        If such note or other evidence of indebtedness provides for the
        payment of reasonable attorney's fees without specifying any specific
        percent, such provision shall be construed to mean 15 percent of the
        first $500 .00 of principal and interest owing on such note or other
        evidence of indebtedness and 10 percent of the amount of principal
        and interest owing thereon in excess of $500 .00.

O .C .G.A. § 13-1-11(a)(2) .

         The outstanding amount of principal and interest owed by Plaintiff is

$6,887.94 . [Thomas Aff., 110] Consequently, CitiFinancial is entitled to an

award of attorney's fees in the amount of $713 .79, calculated as follows :

( .15 times $500) + ( .10 times ($6,887 .94 minus $500)) = $713 .79.



                                     CONCLUSION

         For the foregoing reasons, this Court should grant CitiFinancial a judgment

as a matter of law as to Plaintiff's claims, and grant CitiFinancial summary

judgment on its deficiency claim against Plaintiff in the amount of $6,887 .94, plus

its attorneys' fees and costs .




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        This day of January, 2006 .




                                              A. William Lo e
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                                              Bryony H . Bowers
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                            CERTIFICATE OF SERVICE

         I have this day served the foregoing upon all parties by depositing a copy in

the United States Mail in a properly addressed envelope with adequate postage

thereon :

                 Charles W. Brannon, Jr ., Esq.
                 103 Valley Road, #31
                 Statesboro, Georgia 30458-4759

         This r day of January, 2006 .




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